        Case 3:21-cv-00220-TCB Document 17 Filed 12/29/22 Page 1 of 6




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        NEWNAN DIVISION

 MARTIN J. WALSH
 Secretary of Labor,                                   CIVIL FILE NO.
 United States Department of Labor,                   3:21-cv-00220-TCB

        Plaintiff,
                                                   JURY TRIAL DEMAND
 v.

 811 AUTOWORKS, LLC D/B/A
 A OK WALKER AUTOWORKS
 and MILES WALKER, an individual,

        Defendants.

                 DEFENDANTS’ ANSWER TO COMPLAINT

      COME NOW Defendants 811 Autoworks (“Walker Autoworks”) and Miles

Walker (“Walker”), (collectively “Defendants”), and file their Answer to Plaintiff’s

Complaint, showing the Court as follows:

                                FIRST DEFENSE

      Plaintiffs’ Complaint fails to state a claim against Defendants upon which

relief can be granted.

                              SECOND DEFENSE

      No act of omission on the part of Defendants either cause or contributed to

whatever injury or damage Plaintiff has alleged.




                                         1
        Case 3:21-cv-00220-TCB Document 17 Filed 12/29/22 Page 2 of 6




                                THIRD DEFENSE

      Any award of punitive damages or exemplary damages to Plaintiff in this case

will be violative to the constitutional safeguards provided to the Defendants under

the Constitution of the United States of America.

                               FOURTH DEFENSE

      Any award of punitive or exemplary damages to Plaintiff in this case is

arbitrary, unreasonable, excessive and fundamentally unfair, vague, and not

rationally related to legitimate government interest, in violation of Defendants’ right

to due process and equal protection of the law under the Fifth, Eighth, and Fourteenth

Amendments to the Constitution of the United States of America.

                                 FIFTH DEFENSE

      Any award of punitive damages would be violative of the procedural

safeguards provided to the Defendants under the Sixth Amendment to the

Constitution of the United States of America and that punitive damages are penal in

nature and consequently, Defendant are entitled to the same procedural safeguards

as accorded to criminal defendants.

                                 SIXTH DEFENSE




                                          2
        Case 3:21-cv-00220-TCB Document 17 Filed 12/29/22 Page 3 of 6




      Defendants reserve the right to assert any affirmative defenses, additional

defenses, claims, and denials as may be disclosed during the course of additional

investigation and discovery.

                               SEVENTH DEFENSE

      Responding the numbered paragraphs of Plaintiff’s Complaint, Defendants

respond as follows:

                                   SECTION I

                                         1.

      The allegations of Section I Paragraph One (1) of Plaintiff’s Complaint are

admitted.

                                         2.

      The allegations of Section I Paragraph Two (2) of Plaintiff’s Complaint are

admitted.

                                  SECTION II

                                         1.

      The allegations of Section II Paragraph One (1) of Plaintiff’s Complaint are

admitted.

                                         2.

      The allegations of Section II Paragraph Two (2) are denied as stated.




                                        3
        Case 3:21-cv-00220-TCB Document 17 Filed 12/29/22 Page 4 of 6




                                         3.

      The allegations of Section II Paragraph Three (3) are admitted.

                                    SECTION III

                                         1.

      The allegations of Section III Paragraph One (1) are admitted.

                                         2.

      The allegations of Section III Paragraph Two (2) are admitted.

                                    SECTION IV

      The allegations of Section IV are denied.

                                    SECTION V

      The allegations of Section V are denied.

                                    SECTION VI

      The allegations contained in Section VI, including any stated in the numbered

paragraphs, are denied as stated.

             SECTION VII (Incorrectly denoted as SECTION V)

      The allegations contained in Section VII, the “Wherefore” section, are denied.




                                         4
        Case 3:21-cv-00220-TCB Document 17 Filed 12/29/22 Page 5 of 6




      WHEREFORE, having fully answered Plaintiff’s Complaint, Defendants

demand judgment in their favor, request their reasonable attorney’s fees for

defending this action and demands that all costs of this action be assessed against

Plaintiff. Defendants further pray for any and all other, further, different, general or

special relief as in equity to which said Defendants may be entitled and/or this Court

finds appropriate under the circumstances.

      DEFENDANTS HEREBY DEMAND A TRIAL BY STRUCK JURY.



      This 29th day of December, 2022.



                                               PARIAN LAWYERS

 Parian Lawyers                                /s/Ryan Farmer
 Mailing Address:                              Ryan Farmer
 P.O. Box 979                                  Georgia Bar No. 474673
 Carrollton, Georgia 30112                     Attorney for Defendants
 Physical Address:
 1606 Maple Street
 Carrollton, Georgia 30117
 Telephone: (404) 795-5035
 Facsimile: (404) 953-7020
 ryan@callcadenow.com




                                           5
        Case 3:21-cv-00220-TCB Document 17 Filed 12/29/22 Page 6 of 6




                         CERTIFICATE OF SERVICE

      I hereby certify that on 29th day of December, 2022, I served all parties with

a copy of the within and foregoing pursuant to LR 5.1(B)(2) by “[f]iling in the

Court’s electronic case files (“ECF”) system [which] constitutes service of the filed

documents on registered users.”

           Kristin R. Murphy
           Murphy.kristin.r@dol.gove
           Atl.fedcourt@dol.gov
           U.S. Department of Labor
           Office of the Solicitor
           61 Forsyth Street, SW
           Room 7T10
           Atlanta, GA 30303
           Attorney for Plaintiff
                       CERTIFICATE OF COMPLAINCE
      This shall also serve as notice that Counsel for Defendants has complied with

LR 5.1 (C) by using double spaced, 14-point Times New Roman Font with at least

one (1) inch margins.

                                              PARIAN LAWYERS

Parian Lawyers                                /s/Ryan Farmer
Mailing Address:                              Ryan Farmer
P.O. Box 979                                  Georgia Bar No. 474673
Carrollton, Georgia 30112                     Attorney for Defendants
Physical Address:
1606 Maple Street
Carrollton, Georgia 30117
Telephone: (404) 795-5035
Facsimile: (404) 953-7020
ryan@callcadenow.com




                                         6
